 Case 2:17-cv-00110-GJQ-TPG ECF No. 72 filed 09/19/18 PageID.922 Page 1 of 7



                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION



MOSES R. KIRSCHKE #384285,

                       Plaintiff,                     Case No. 2:17-cv-00110

v.                                                    HON. GORDON J. QUIST

CECIL DALEY, et al.,

                  Defendants.
____________________________________/

                            REPORT AND RECOMMENDATION

               This is a civil rights action brought by state prisoner Moses R. Kirchke pursuant to

42 U.S.C. § 1983. Plaintiff alleges that while he was confined at the Kinross Correctional Facility,

Defendants denied him toilet paper and issued false misconduct tickets in retaliation after he

complained. Defendant Williams filed a motion for summary judgment (ECF No. 29) on the

ground that Plaintiff failed to exhaust his available administrative remedies by naming him in a

grievance. Plaintiff filed a response (ECF No. 59).

               Summary judgment is appropriate when the record reveals that there are no genuine

issues as to any material fact in dispute and the moving party is entitled to judgment as a matter of

law. FED. R. CIV. P. 56(c); Kocak v. Comty. Health Partners of Ohio, Inc., 400 F.3d 466, 468 (6th

Cir. 2005); Thomas v. City of Chattanooga, 398 F.3d 426, 429 (6th Cir. 2005). The standard for

determining whether summary judgment is appropriate is “whether the evidence presents a

sufficient disagreement to require submission to a jury or whether it is so one-sided that one party

must prevail as a matter of law.” State Farm Fire & Cas. Co. v. McGowan, 421 F.3d 433, 436
 Case 2:17-cv-00110-GJQ-TPG ECF No. 72 filed 09/19/18 PageID.923 Page 2 of 7



(6th Cir. 2005) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251-52 (1986)); see also

Tucker v. Union of Needletrades Indus. & Textile Employees, 407 F.3d 784, 787 (6th Cir. 2005).

The court must consider all pleadings, depositions, affidavits, and admissions on file, and draw all

justifiable inferences in favor of the party opposing the motion. See Matsushita Elec. Indus. Co.,

Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986); Twin City Fire Ins. Co. v. Adkins, 400 F.3d

293, 296 (6th Cir. 2005).

               A prisoner’s failure to exhaust his administrative remedies is an affirmative

defense, which Defendants have the burden to plead and prove. Jones v. Bock, 549 U.S. 199, 212-

216 (2007). A moving party without the burden of proof need show only that the opponent cannot

sustain his burden at trial. See Morris v. Oldham County Fiscal Court, 201 F.3d 784, 787 (6th Cir.

2000); see also Minadeo v. ICI Paints, 398 F.3d 751, 761 (6th Cir. 2005). A moving party with

the burden of proof faces a “substantially higher hurdle.” Arnett v. Myers, 281 F.3d 552, 561 (6th

Cir. 2002); Cockrel v. Shelby County Sch. Dist., 270 F.3d 1036, 1056 (6th Cir. 2001). “Where the

moving party has the burden -- the plaintiff on a claim for relief or the defendant on an affirmative

defense -- his showing must be sufficient for the court to hold that no reasonable trier of fact could

find other than for the moving party.” Calderone v. United States, 799 F.2d 254, 259 (6th Cir.

1986) (quoting W. SCHWARZER, Summary Judgment Under the Federal Rules: Defining Genuine

Issues of Material Fact, 99 F.R.D. 465, 487-88 (1984)). The United States Court of Appeals for

the Sixth Circuit repeatedly has emphasized that the party with the burden of proof “must show

the record contains evidence satisfying the burden of persuasion and that the evidence is so

powerful that no reasonable jury would be free to disbelieve it.” Arnett, 281 F.3d at 561 (quoting

11 JAMES WILLIAM MOORE, ET AL., MOORE’S FEDERAL PRACTICE § 56.13[1], at 56-138 (3d ed.

2000); Cockrel, 270 F.2d at 1056 (same). Accordingly, summary judgment in favor of the party



                                                  2
 Case 2:17-cv-00110-GJQ-TPG ECF No. 72 filed 09/19/18 PageID.924 Page 3 of 7



with the burden of persuasion “is inappropriate when the evidence is susceptible of different

interpretations or inferences by the trier of fact.” Hunt v. Cromartie, 526 U.S. 541, 553 (1999).

               Pursuant to the applicable portion of the Prison Litigation Reform Act (PLRA), 42

U.S.C. § 1997e(a), a prisoner bringing an action with respect to prison conditions under 42 U.S.C.

§ 1983 must exhaust his available administrative remedies. See Porter v. Nussle, 534 U.S. 516,

532 (2002); Booth v. Churner, 532 U.S. 731, 733 (2001). A prisoner must first exhaust available

administrative remedies, even if the prisoner may not be able to obtain the specific type of relief

he seeks in the state administrative process. See Porter, 534 U.S. at 520; Booth, 532 U.S. at 741;

Knuckles El v. Toombs, 215 F.3d 640, 642 (6th Cir. 2000); Freeman v. Francis, 196 F.3d 641, 643

(6th Cir. 1999). In order to properly exhaust administrative remedies, prisoners must complete the

administrative review process in accordance with the deadlines and other applicable procedural

rules. Jones v. Bock, 549 U.S. 199, 218-19 (2007); Woodford v. Ngo, 548 U.S. 81, 90-91 (2006).

“Compliance with prison grievance procedures, therefore, is all that is required by the PLRA to

‘properly exhaust.’” Jones, 549 U.S. at 218-19. In rare circumstances, the grievance process will

be considered unavailable where officers are unable or consistently unwilling to provide relief,

where the exhaustion procedures may provide relief, but no ordinary prisoner can navigate it, or

“where prison administrators thwart inmates from taking advantage of a grievance process through

machination, misrepresentation, or intimidation.” Ross v. Blake, 136 S.Ct. 1850, 1859-1860

(2016).

               MDOC Policy Directive 03.02.130 (effective July 9, 2007), sets forth the applicable

grievance procedures for prisoners in MDOC custody at the time relevant to this complaint.

Inmates must first attempt to resolve a problem orally within two business days of becoming aware

of the grievable issue, unless prevented by circumstances beyond his or her control. Id. at ¶ P. If



                                                3
 Case 2:17-cv-00110-GJQ-TPG ECF No. 72 filed 09/19/18 PageID.925 Page 4 of 7



oral resolution is unsuccessful, the inmate may proceed to Step I of the grievance process and

submit a completed grievance form within five business days of the attempted oral resolution. Id.

at ¶¶ P, V. The inmate submits the grievance to a designated grievance coordinator, who assigns

it to a respondent. Id. at ¶ V. The Policy Directive also provides the following directions for

completing grievance forms: “The issues should be stated briefly but concisely. Information

provided is to be limited to the facts involving the issue being grieved (i.e., who, what, when,

where, why, how). Dates, times, places and names of all those involved in the issue being grieved

are to be included.” Id. at ¶ R (emphasis in original). “But when prison officials decline to enforce

their own procedural rules and instead consider a non-exhausted claim on its merits, a prisoner’s

failure to comply with those rules does not create a procedural bar to that prisoner’s subsequent

federal lawsuit.” Hardy v. Agee, No. 16-2005, at 3 (6th Cir. Mar. 5, 2018) (unpublished) citing

Reed-Bey v. Pramstaller, 603 F.3d 322, 325 (6th Cir. 2010). The Sixth Circuit has explained:

               [A] prisoner ordinarily does not comply with MDOCPD 130—and
               therefore does not exhaust his administrative remedies under the
               PLRA—when he does not specify the names of each person from
               whom he seeks relief. See Reed-Bey v. Pramstaller, 603 F.3d 322,
               324-25 (6th Cir. 2010) (“Requiring inmates to exhaust prison
               remedies in the manner the State provides—by, say, identifying all
               relevant defendants—not only furthers [the PLRA’s] objectives, but
               it also prevents inmates from undermining these goals by
               intentionally defaulting their claims at each step of the grievance
               process, prompting unnecessary and wasteful federal litigation
               process.”). An exception to this rule is that prison officials waive
               any procedural irregularities in a grievance when they nonetheless
               address the grievance on the merits. See id. at 325. We have also
               explained that the purpose of the PLRA’s exhaustion requirement
               “is to allow prison officials ‘a fair opportunity’ to address grievances
               on the merits to correct prison errors that can and should be
               corrected to create an administrative record for those disputes that
               eventually end up in court.” Id. at 324.




                                                  4
    Case 2:17-cv-00110-GJQ-TPG ECF No. 72 filed 09/19/18 PageID.926 Page 5 of 7



Mattox v. Edelman, 2017 WL 992510, slip op. at 8-9 (6th Cir. 2017). 1

                  If the inmate is dissatisfied with the Step I response, or does not receive a timely

response, he may appeal to Step II by obtaining an appeal form within ten business days of the

response, or if no response was received, within ten days after the response was due. Id. at ¶¶ T,

BB. The respondent at Step II is designated by the policy, e.g., the regional health administrator

for a medical care grievances. Id. at ¶ DD. If the inmate is still dissatisfied with the Step II

response, or does not receive a timely Step II response, he may appeal to Step III using the same

appeal form.       Id. at ¶¶ T, FF. The Step III form shall be sent within ten business days after

receiving the Step II response, or if no Step II response was received, within ten business days

after the date the Step II response was due. Id. at ¶¶ T, FF. The Grievance and Appeals Section

is the respondent for Step III grievances on behalf of the MDOC director. Id. at ¶ GG. “The total

grievance process from the point of filing a Step I grievance to providing a Step III response shall

generally be completed within 120 calendar days unless an extension has been approved . . . .” Id.

at ¶ S.


                  In addition, the grievance policy provides that, where the grievance alleges conduct

that falls under the jurisdiction of the Internal Affairs Division pursuant to PD 01.01.140, the

prisoner may file his Step I grievance directly with the inspector of the institution in which the

prisoner is housed, instead of with the grievance coordinator, as set forth in ¶ V of PD 03.02.130.


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  In Holloway v. Mclaren, No. 15-2184 (6th Cir., April 7, 2016) (unpublished), the Sixth Circuit concluded that where
a plaintiff fails to name each defendant in his grievance, the un-named defendants may not be dismissed for failure to
exhaust grievance remedies if the MDOC did not reject the grievance under the policy requiring a grievant to name
each individual involved. The Sixth Circuit stated: “Because MDOC officials addressed the merits of Holloway’s
grievance at each step and did not enforce any procedural requirements, Holloway’s failure to identify the defendants
named in this lawsuit and to specify any wrongdoing by them in his grievances cannot provide the basis for dismissal
of his complaint for lack of exhaustion.” Id. at 3. In Mattox, the Sixth Circuit held that a prisoner may only exhaust
a claim “where he notifies the relevant prison . . . staff” regarding the specific factual claim “giving the prison staff a
fair chance to remedy a prisoner’s complaints.” slip op. at 16. For example, grieving a doctor about his failure to
give cardiac catheterization failed to grieve the claim that the doctor erred by not prescribing Ranexa.

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 Case 2:17-cv-00110-GJQ-TPG ECF No. 72 filed 09/19/18 PageID.927 Page 6 of 7



Id. at ¶Q. In such instances, the grievance must be filed within the time limits prescribed for filing

grievances at Step I. Id. Regardless of whether the grievance is filed with grievance coordinator

or the inspector, the grievance will be referred to the Internal Affairs Division for review and will

be investigated in accordance with PD 01.01.140. The prisoner will be promptly notified that an

extension of time is needed to investigate the grievance. Id.

               Plaintiff filed grievances naming Defendants Harrington, Pillions, McDonald,

Black, Miller, McKechnie, and Nault concerning his denial of toilet paper and retaliation claims.

KCF 16-05-744-17B (ECF No. 30-3, PageID.251-264) and KCF 16-05-0698-03d (PageID.282-

297). Defendant Williams concedes that Plaintiff filed grievances on the relevant issues that were

not rejected by the MDOC.       Defendant Williams argues that Plaintiff did not name him in a

grievance. However, the MDOC failed to enforce the policy requiring Plaintiff to name each

individual in his grievance. The Court may not enforce MDOC policy where the MDOC waived

enforcement of the policy by deciding the merits of the grievance. In addition, Plaintiff specifically

alleged that his request for a grievance form to name Defendant Williams was denied.

               For the foregoing reasons, I recommend that Defendant Williams’ motion for

summary judgment (ECF No. 29) be denied.

               Should the court adopt the report and recommendation in this case, the court must

next decide whether an appeal of this action would be in good faith within the meaning of 28

U.S.C. § 1915(a)(3). See McGore v. Wrigglesworth, 114 F.3d 601, 611 (6th Cir. 1997). For the

same reasons that the undersigned recommends granting Defendants’ motion for summary

judgment, the undersigned discerns no good-faith basis for an appeal. Should the court adopt the

report and recommendation and should Plaintiff appeal this decision, the court will assess the $505

appellate filing fee pursuant to § 1915(b)(1), see McGore, 114 F.3d at 610-11, unless Plaintiff is



                                                  6
 Case 2:17-cv-00110-GJQ-TPG ECF No. 72 filed 09/19/18 PageID.928 Page 7 of 7



barred from proceeding in forma pauperis, e.g., by the “three-strikes” rule of § 1915(g). If he is

barred, he will be required to pay the $505 appellate filing fee in one lump sum.


                                                     /s/ Timothy P. Greeley
                                                     TIMOTHY P. GREELEY
                                                     UNITED STATES MAGISTRATE JUDGE
Dated: September 19, 2018


                                    NOTICE TO PARTIES

Any objections to this Report and Recommendation must be filed and served within fourteen days
of service of this notice on you. 28 U.S.C. § 636(b)(1)(C); FED. R. CIV. P. 72(b). All objections
and responses to objections are governed by W.D. Mich. LCivR 72.3(b). Failure to file timely
objections may constitute a waiver of any further right of appeal. United States v. Walters, 638
F.2d 947 (6th Cir. 1981); see Thomas v. Arn, 474 U.S. 140 (1985).




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